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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:10CR158
       vs.                                 )
                                           )                       ORDER
DAVID M. HERNANDEZ,                        )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO CONTINUE [70] Time IN
WHICH TO FILE PRETRIAL MOTIONS. Upon review of the file, the court finds that an extension
of approximately 15 days should be granted. Pretrial Motions shall be filed by June 10,
2010.

       IT IS ORDERED:

       1.    Defendant's MOTION TO CONTINUE [70] TIME IN WHICH TO FILE PRETRIAL MOTIONS
is granted. Pretrial motions shall be filed on or before June 10, 2010.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 26, 2010 and June
10, 2010, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 25th day of May, 2010.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
